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 CLARE E. CONNORS                 7936
 Attorney General of the State of Hawai‘i

 NICHOLAS M. MCLEAN               10676
 EWAN C. RAYNER                   10222
 WILLIAM M. LEVINS                10295
 CRAIG Y. IHA                     7919
 Deputy Attorneys General
 Dept. of the Attorney General
 425 Queen Street
 Honolulu, Hawai‘i 96813

 Attorneys for Governor DAVID IGE,
 in his official capacity; Attorney General
 CLARE E. CONNORS, in her official
 capacity; and the STATE OF HAWAI‘I

                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I

  FOR OUR RIGHTS, et al.,                     Case No. 1:20-cv-00268-DKW-RT

               Plaintiffs,                    NOTICE OF RELATED CASE
                                              (No. 1:20-cv-00273-JAO-WRP)
        v.
                                              District Judge: Hon. Derrick K. Watson
  DAVID IGE, in his official capacity
  as Governor of the State of Hawaiʻi,        Magistrate Judge: Hon. Rom Trader
  CLARE E. CONNORS, in her
  official capacity as Attorney General
  for the State of Hawaiʻi, and STATE
  OF HAWAIʻI,

               Defendants.
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                          NOTICE OF RELATED CASE

        Pursuant to Local Rule 40.2 of the Local Rules of Practice for the United

 States District Court for the District of Hawai‘i, Defendants Governor DAVID

 IGE, in his official capacity as Governor of the State of Hawaiʻi, Attorney General

 CLARE E. CONNORS, in her official capacity as Attorney General for the State

 of Hawaiʻi, and the STATE OF HAWAIʻI (collectively, “Defendants”), through

 undersigned counsel, respectfully submit the following notice of related case:


     • Holly Carmichael, et al. v. David Ige, United States District Court for the

        District of Hawai‘i, No. 1:20-cv-00273-JAO-WRP, filed on June 15, 2020

        [hereinafter Carmichael].


        A Motion for Temporary Restraining Order and for Order to Show Cause

 Why Preliminary Injunction Should Not Issue in Carmichael has been set for

 hearing/argument on July 2, 2020, at 11:00 a.m. before Judge Jill A. Otake. Like

 this case, the Carmichael case involves a challenge to the State’s Ninth

 Supplementary Emergency Proclamation on constitutional and statutory grounds.

 Also, like this case, the plaintiffs in Carmichael have sought to enjoin Defendant

 from enforcing the State’s Ninth Supplementary Emergency Proclamation.1


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   Neither this notice nor any subsequent appearance, pleading, claim, suit, or other
 filing is intended to waive any rights, including any right to challenge the
 jurisdiction of the Court pursuant to the Eleventh Amendment to the United States

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 Defendants will shortly be filing a motion to consolidate the instant case with the

 Carmichael case.

       DATED: Honolulu, Hawai‘i, June 23, 2020.

                                        /s/ Craig Y. Iha
                                        CRAIG Y. IHA
                                        EWAN C. RAYNER
                                        NICHOLAS M. MCLEAN
                                        W. MAWELL LEVINS
                                        Deputy Attorneys General
                                        Attorneys for Defendant Governor David
                                        Ige, in his official capacity as Governor of
                                        the State of Hawai‘i




 Constitution, state sovereign immunity, or any other rights, claims, actions, or
 defenses to which Defendants are or may be entitled in law or in equity, all of
 which are hereby expressly reserved.

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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I

  FOR OUR RIGHTS, et al.,                      Case No. CV 20-00268-DKW-RT

               Plaintiffs,
                                               CERTIFICATE OF SERVICE
        v.

  DAVID Y. IGE, in his official capacity as
  Governor of the State of Hawai‘i, CLARE
  E. CONNORS, in her official capacity as
  Attorney General for the State of Hawai‘i,
  and STATE OF HAWAI‘I,

               Defendants.


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the date set forth below I electronically filed

 the foregoing document with the Clerk of Court for the United States District Court

 for the District of Hawai‘i by using the CM/ECF system. Participants in the case

 who are registered CM/ECF users will be served by the CM/ECF system.

             Marc J. Victor, Esq.
             1003 Bishop St.
             Honolulu, HI 96813




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             Tel: (808) 647-2423
             E-mail: marc@attorneysforfreedom.com
             Attorney for Plaintiffs

       DATED: Honolulu, Hawai‘i, June 23, 2020.

                                        /s/ Craig Y. Iha
                                       CRAIG Y. IHA
                                       EWAN C. RAYNER
                                       NICHOLAS M. MCLEAN
                                       WILLIAM M. LEVINS
                                       Deputy Attorneys General

                                       Attorneys for Governor DAVID IGE,
                                       in his official capacity; Attorney General
                                       CLARE E. CONNORS, in her official
                                       capacity; and the STATE OF HAWAI‘I




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